Case 2:16-cv-14413-RLR Document 134-5 Entered on FLSD Docket 10/27/2017 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No.: 16-14413-Civ-ROSENBERG/MAYNARD

TAVARES DOCHER, by and through JANICE
DOCHER-NEELEY, his mother
and legal guardian,

Plaintiff,
vs.

CHRISTOPHER NEWMAN, individually,
CLAYLAN MANGRUM, individually,
CALVIN ROBINSON, individually,
WADE COURTEMANCHE, individually,
KEN J. MASCARA, as SHERIFF of

ST. LUCIE COUNTY, Florida,

JOSE ROSARIO, individually, and the ST.
LUCIE COUNTY FIRE DISTRICT,

an independent special district,

Defendants.
/

AFFIDAVIT OF LEAHA NICOLE BOLES
Before the undersigned authority personally appeared Leaha Nicole Boles, who having

been first duly sworn, deposes and says:
I. My name is Leaha Nicole Boles.

2. On May 12, 2014, I was working as a cashier at the CVS Pharmacy located at 301

Primia Vista Boulevard, Port St. Lucie, Florida.

3. I had just started my shift. Tavares Docher came to the register and explained that

persons were who going to harm his aunt.
Case 2:16-cv-14413-RLR Document 134-5 Entered on FLSD Docket 10/27/2017 Page 2 of 2

4, Mr. Docher purchased a Black and Mild. He made no threats, and there was no
cussing. He was just acting delusional. I called my supervisor to the register. Eventually, the

police arrived.

5. I did not see Mr. Docher commit any crime inside the CVS. He was just acting
delusional.
6. When I looked outside from time to time I did see that his face was getting beat by

the police. I felt that it was wrong. I provided a verbal statement to the police after the incident

and told them the same thing.

FURTHER AFFIANT SAYETH NOT.

Ken rn a rdA’d

Keaha Nicole Boles
STATE OF FLORIDA )

)
COUNTY OF OKEECHOBEE )
BEFORE ME, the undersigned authority, personally appeared the above affiant, Leaha Nicole

Boles, who first being duly sworn, states that the above is true and correct.

SWORN TO AND SUBSCRIBED before me in Okeechobee County ida, this

Mn

NOTARY PUBLI€7 State of Florida

tb
| 9 “day of October, 2017.

The affiant is:
Prrd known to me
presented identification
LD.# Ofer Ceealy Chel s
Collec, TD Hooy7- 3125

My Commission Expires:
& ii, MARK A LONGO |

 

 

? MY COMMISSION # EE208542
ee EXPIRES June 17, 2018

3 .
te =
eur

409 tyr 10953 FlordaNotaryService.com
